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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
      v.                                    )         CR 116-022
                                            )
VENUS MARGEL                                )
IONUTE MARGEL                               )

                                       _________

                                       ORDER
                                       _________

      Counsel have advised the Court that all pretrial motions have been satisfied or

otherwise resolved. (See doc. no. 72.) Therefore, a motions hearing for Defendants is not

necessary, and all pending motions are MOOT. (Doc. nos. 8-22, 24-30, 34-53.)

      SO ORDERED this 29th day of June, 2016, at Augusta, Georgia.
